Case 1:25-mc-00078-DEH
UNITED STATES DISTICT COURT Document 12 Filed 03/12/25 Pageiof1

SOUTHERN DISTRICT OF NEW YORK

IN RE APPLICATION OF, FOURWORLD GLOBAL OPPORTUNITIES FUND, LTD.., N
FOURWORLD EVENT OPPORTUNITIES, LP, FOURWORLD SPECIAL DENG ee NOTE
OPPORTUNITIES FUND, LLC, FW DEEP VALUE OPPORTUNITIES FUND |, LLC, DATE TILED, °
vs Job #: 599017
. Client Fite#

DUNNING RIEVMAN & MACDONALD LL
1350 BROADWAY, SUITE 2220
NEW YORK, NY 10018

CLIENT’S FILE NO.: AFFIRMATION OF SERVICE UPON A CORPORATION

I, ERIC RIVERA, affirms and says deponent is not a party to this action and is over the age of eighteen years
and resides in the State of New York.

That on 3/10/2025 at 12:06 PM at 200 West Street, NEW YORK, NY 10282, deponent served the within
APPLICATION, COVER SHEET, DECL. OF DAMIAN VALLEJO, EXHIBIT 1, EXHIBIT 2, EXHIBIT 3,
EXHIBIT 4, DECL. OF DELROY B. DUNCAN, EXHIBIT 1, EXHIBIT 2, EXHIBIT 3, EXHIBIT 4, EXHIBIT 5,
EXHIBIT 6, EXHIBIT 7, EXHIBIT 8, EXHIBIT 9, EXHIBIT 10, EXHIBIT 11, EXHIBIT 12, EXHIBIT 13,
EXHIBIT 14, EXHIBIT 15, EXHIBIT 16, EXHIBIT 17, EXHIBIT 18, EXHIBIT 19, EXHIBIT 20, EXHIBIT 21,

_ EXHIBIT 22, EXHIBIT 23, EXHIBIT 24, EXHIBIT 25, EXHIBIT 26, EXHIBIT 27, MEMO OF LAW, PROPOSED
ORDER, RULE 7.1 STATEMENT

by personally delivering to and leaving with NIAHOPE for GOLDMAN SACHS & CO. LLC ATTN:
HEAD OF LITIGATION & REGULATORY, a true copy thereof, and that deponent knew the person so
served to be the AUTHORIZED PARTY/Managing Agent and stated (s)he was authorized to accept legal
- papers for the corporation.

Said documents were conformed with index number endorsed thereon.

A perceived description of the person served on behalf of the defendant is as follows:
Approx Age: 22 - 35 Yrs., Approx Weight: 131-160 Lbs., Approx Height: 5' 4" - 5' 8", Gender: Female,

Approx Race: Black, Approx Hair: Black
Other:

Served at following GPS coordinates, Lat: 40.707278333333 Long: -74.0074775
| affirm this March 11, 2025, under the penalties of

perjury under the laws of New York, which may im iz
include a fine or imprisonment,that the foregoing is 1 -
true, and | understand that this document may be
filed in an action or proceeding in a court of law. [=]
: /_BRIC RIVERA
1212873

SUPREME JUDICIAL SERVICES, INC, 371 MERRICK ROAD - ROCKVILLE CENTRE, N.Y. 11570 Lic# 1092373
